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NEOCC Covid-19 Quarantine Unit Procedures

Revised 04/07/2020

NEOCC identified (32) detainees/offenders as "High-Risk" patients.

USMS: (15)
ODRC: (17)

Below is the proposed plan to provide housing and place them in a more protected environment:

USMS high risk patients moved to B5 unit
o (1) wheelchair detainee

ODRC high risk patients moved to B7 unit
o (1) wheelchair detainee

Medical Plan of Action

At least one nurse will be assigned to provide on-site medication administration and conduct
daily rounds (e.g., check on patients, collect Sick Call requests, respond to urgent health care
needs, etc.) in the housing unit
An RN will be assigned to complete Sick Call Assessments in the unit
Provider assessments (doctor sick call, health appraisals, chronic care, etc.) will be conducted
in a designated cell within the unit (e.g., medical cell #101)
o Privacy will be maintained during clinical encounters
o Health care staff will wear paper/surgical masks, gloves, and gowns during clinical
encounters / inside the housing unit
o Health care staff will have their temperature taken daily; elevated temperatures will
prohibit the health care staff from entering the unit / having direct contact with the
patient
o Health care staff will answer and clear symptom screening questions daily
o Staff assigned to work on the wing will be screened throughout the work day

High Risk Cohorting Unit Procedures
All staff assigned to work on the wing will be screened prior to contact with any
detainees/offenders
Conduct (2)-hour cleaning schedule- utilize in-house porters
o Emphasis on all hard surfaces, doors and door handles
Dayroom Schedule: Open dayroom - monitor amount of offenders/detainees
Recreation Schedule: Utilize outside recreation yard #2 and B5 recreation cages as needed
o Televisions on mobile carts with movies
o Distribute board games
Commissary: Commissary will be delivered to the unit team by commissary staff
o Unit Team will deliver commissary to each unit
Unit Management: Designated Unit Team members for each population
Mail Services: Unit Team will pick up and deliver all mail
o Additional "free letters"
Shower Schedule- Disinfect after each group use
o Showers will be offered daily

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e Laundry Services: Monday -Thursday at 12:30pm
o Both units will be collected at the same time
o Designated laundry bins for each unit
o Designated washer/dryers for isolation units ( wash and dried separately )
e Medical Services: Pill Call, Doctor Sick Call, and Chronic Care will be conducted in the
designated medical cell (e.g., cell #101)
o Designated medical staff for the housing units (LPN/RN/ALP)
o Emergency dental services only
o Designated office space for privacy
Correctional Staff: Designate permanent correctional staff to work housing units
e Visitation:
o ODRC- no-contact (attorney only )
o USMS- preferred no-contact (attorney only)
e Programing :In-house (mental health , educational services, library, religious services)
o Designated offices on the wing will be utilized

Remote Feeding
Disinfect and sanitize tables before and after each meal
Food will be delivered and distributed by the corridor and housing unit officer
Designated food carts for both housing units
A meals will be served on Styrofoam in dayrooms

** Attached diagram of designated housing units for isolated detainees/ offenders
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NEOCC Covid-19 Quarantine Unit Procedures

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